              CASE 0:20-cr-00261-DSD-TNL Doc. 74 Filed 11/10/21 Page 1 of 1
 PS 8                                                                             Filed by the Clerk
 (Rev 5/10)             UNITED STATES DISTRICT COURT
                                        for
                              District of Minnesota
U.S.A. vs. Aditya Raj Sharma                          Docket No. 0864 0:20CR00261-001(DSD)


                       Petition for Action on Conditions of Pretrial Release

        COMES NOW Krystal A. Taylor, U.S. PROBATION OFFICER OF THE COURT,
presenting an official report upon the conduct of Aditya Raj Sharma who was continued under
pretrial supervision by the Honorable David S. Doty, sitting in the Court at Minneapolis,
Minnesota, on the 28th day of July, 2021, under the following conditions, in part:

         •      Pretrial Services Supervision
         •      Must Not Violate Federal, State, or Local Law
         •      Report Law Enforcement Contact to Supervising Officer within 72 Hours

The defendant is pending sentencing for Wire Fraud, in violation of 18 U.S.C. § 1343.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS:

On or about October 5, 2021, a Petition for a Harassment Restraining Order was filed by K.E.K.-D.
against the defendant in Dakota County, Minnesota, District Court (case 19AV-CV-21-1760).
This officer has obtained information that the defendant was served the Harassment Restraining
Order in connection this matter on October 6, 2021. The defendant did not report being served the
Harassment Restraining Order or any the contact with law enforcement with this officer as required
within 72 hours.
The above actions violate the defendant’s conditions of release pursuant to 18 U.S.C. § 3148.

PRAYING THAT THE COURT WILL ORDER that a summons be issued and a hearing be held
to show cause why his pretrial release should not be revoked.

              ORDER OF THE COURT                        I declare under penalty of perjury that the
                                                        foregoing is true and correct.
                                  10th
Considered and ordered this __________        day
     November
of __________________, 2021, and ordered                s/ Krystal A. Taylor
filed and made a part of the records in the above       Krystal A. Taylor
case.                                                   U.S. Probation Officer
 s/David S. Doty                                        612-664-5352
Honorable David S. Doty                                 Executed on     November 9, 2021
Senior U.S. District Judge
                                                        Place           Minneapolis
                                                        Approved:
                                                        s/ Nicole   Smith
                                                        Nicole Smith
                                                        Supervising U.S. Probation Officer
